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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




AUGUST DEKKER et al.,

                Plaintiffs,
v.                                             CASE NO. 4:22cv325-RH-MAF

SIMONE MARSTILLER et al.,

          Defendants.
_____________________________________/


                         ORDER EXCLUDING TESTIMONY
                        OF WITNESSES C.G. AND CROWLEY


        The plaintiffs moved to exclude testimony of individuals who provided

declarations only under pseudonyms—“C.G.” and “Jeanne Crowley”—or

alternatively to require the defendants to disclose their identities. In response, the

defendants withdrew the testimony.

        The plaintiffs’ motion also sought to exclude the testimony of some other

lay witnesses as irrelevant. That part of the motion was denied on the record of the

preliminary-injunction hearing.

        Accordingly,

        IT IS ORDERED:


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        The motion to exclude testimony, ECF No. 57, is granted by consent in part

and denied in part. The testimony of C.G. and Jeanne Crowley is excluded.

        SO ORDERED on October 22, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




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